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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                  JOINT Exhibit List

Style: Jose‐Nicolas v. Berry

Case Number: 15‐cv‐0964

Presiding Judge:               Plaintiff’s Attorney:           Defendant’s Attorney:
NANCY J. ROSENSTENGEL          Julie Goodwin                   Jeremy Tyrrell
                               Sarah Grady                     Joseph Bracey, Jr.
                               Adair Crosley
Trial Date:                    Court Reporter:                 Courtroom Deputy:
August 14‐16, 2018             STEPHANIE RENNEGARBE            DEANA BRINKLEY
                               BARB KNIEPMANN
                               LAURA ESPOSITO
Interpreters:
Maria Laura Angel
(AM sessions)
Rafael Saloma‐Gonzalez
(PM sessions)

Pltf. No.   Deft.     Admitted Description
            No.
1                              Inmate Person Property Receipt
2                              Affidavit of Edgar Diaz
3                              Clayborn Smith Complaint
4                              Plaintiff’s Grievances
5                              Disciplinary Tickets
6                              Final Summary Report
7                         √    Inmate Injury Report
8                         √    Internal Affairs Investigation File (pgs. 1, 2, 3, 4, 5, 8, 9, 10,
                               11, 12, 13)
9                              Snell’s Resp to Plaintiff’s Interrogatories
10                        √    Quall’s Resp to Plaintiff’s Interrogatories (REDACTED)
11                             Purdom’s Resp to Plaintiff’s Interrogatories
12                             Lang’s Resp to Plaintiff’s Interrogatories
13                             Hughes’s Resp to Plaintiff’s Interrogatories
14                             Hart’s Resp to Plaintiff’s Interrogatories
15                             Harrington’s Resp to Plaintiff’s Interrogatories
16                             Berry’s Resp to Plaintiff’s Interrogatories
17                             Harrington Dep in Walker v. Atchison
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Pltf. No.   Deft.   Admitted Description
            No.
18                           Harrington Deposition
19                           Snell Deposition
20                           Quall Deposition
21                           Purdom Deposition
22                           Lang Deposition
23                           Hughes Deposition
24                           Hart Deposition
25                           Berry Deposition
26                     √     Plaintiff’s Medical Records (pgs. 63, 64, 65)
27                           Qualls’s Lawsuit Documents
28                           Income Documents




            200              Plaintiff's IDOC Medical Records
            200‐1      √     February 5, 2014 Progress Note
            200‐2            February 5, 2014 Injury Report
            200‐3            February 7, 2014 Progress Note
            200‐4            Dental Notes
            201              Plaintiff’s February 26, 2014 Grievance
            202              Plaintiff’s March 2, 2014 Grievance
            203              Plaintiff’s Complaint (Doc. 1)
            203‐1            Plaintiff’s March 30, 2014 Grievance
            204              Adjustment Committee Final Summary Report
            205              Plaintiff’s Disciplinary Card
            206              Plaintiff’s Living Unit History
            207              Plaintiff’s Assignment History
            208              Plaintiff’s Cumulative Counseling Summary
            209              Deposition of Plaintiff
            210              Email from Kevin Reichert
            211              Investigation Report
            211‐1            Clayborn Smith Letter
            211‐2            Lt. Tony Payne Interview
            211‐3            Nathan Berry Interview
            211‐4            Justin Snell Interview
            211‐5            William Qualls Interview
            212              Edgar Diaz Disciplinary Reports
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Pltf. No.   Deft.   Admitted Description
            No.
            213              Edgar Diaz Adjustment Committee Report
            214              Edgar Diaz Disciplinary Card
            215              Edgar Diaz Living Unit History
            216              Edgar Diaz Assignment History
            217        √     Qualls’s Incident Report
            218              Qualls’s Disciplinary Report
            219              Snell’s Disciplinary Report
